Case 1:18-cv-00566-GI\/|S Document 5 Filed 04/17/18 Page 1 of 3 Page|D #: 79

AO 440 (Rev. 06/]2) Summons in a Civi| Action

UNITED STATES DISTRICT COURT

for the

District of Delaware

Symbo|ogy |nnovations LLC

 

P]a'intz_`j’(.s')

v. CivilAction No. 1 8 b 5 6 6

Hammacher Sch|emmer & Company, |nc.

 

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De]?endanf(sj
SUMMONS IN A CIVIL ACTION

TO! (Dej?zndanf’s name and address) Hammacher SCi'|i€mm€|' & COmany, lDC.
Care of:
The Corporation Trust Company
Corporation Trust Center 1209
Orange St., DE 19801

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) ~ you must serve on the plaintiff an answer to the attached complaint or a motion under Ruie 12 of
the Federal Rules of Civil Prooedure. The answer or motion must be served on the plaintiff or plaintist attorney,

whose name and address are: Siamatios Stamouiis #4606
STANIOUL|S & WE|NBLATT LLC
Two Fox Point Centre
6 Denny Road, Suite 307
Wi|mington, DE 19809
Te|. (302) 999-1540/ Emai|: stamoulis@swdelaw.com

lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

CLERK OF CO Uar

Date: L/ g %SFMO_Y§F'

jfgnatm‘e c#C[erk or Deputy Clerk

 

Case 1:18-cv-00566-GI\/|S Document 5 Filed 04/17/18 Page 2 of 3 Page|D #: 80

AO 440 (Rev. 06/] 2) Sumrnons in a Civil Aciion (Page 2)

Civil Action No.13-566

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

This summons for (name offndividualandmle, ifany) Hammacher Sch|emmer & Company1 lnc.

 

was received by me on (dare) 04116/2018

[l l personally served the summons on the individual at (p!ace)

 

on (dme) ; or

 

1:| I left the summons at the individual’s residence or usual place of abode with (m)me)

, a person of suitable age and discretion Who resides there,

 

on (dure) , and mailed a copy to the individual’s last known address; or

di served the summons on (mme ofindivia'uaD Amy McLaren ~ Authorized to Accept , Who is

 

1209 Orange St., Wilmingtorl, DE 19801 @ 10253 a.m. 011 (daf€) 04/17/2018 3 01'

 

l:l l returned the summons unexecuted because ; or

 

ij Oil'l€r (.spec{`fj)).‘

My fees are $ for travel and $ for services, for a total of $ 0_00

l declare under penalty of perjury that this information is true.

    

Date; 04/17/2013 _ 6 - ,
' / ~/ y Server’s signature

John Garber - Process Server

Prirn‘ea' name and title

 

230 North N|arket Street
Wi|mington, DE 19801

Server ’s address

Additional information regarding attempted service, etc:

 

' Case 1:18-cv-OO566-GI\/|S Document 5 Filed 04/17/18 Page 3 of 3 Page|D #: 81

AO BSA (Rev. 01!09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge

UNITED STATES DISTRICT CoURT

 

 

for the
District of Delaware
)
Piama]j” )
v. ) Civil Action No.
)
Defenalant )

NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

Notice afa magistrate judge ’s availability A United States magistrate judge of this court is available to conduct
all proceedings and enter a i`mai order dispositive of each motion. A magistrate judge may exercise this authority only if
ali parties voluntarily consent.

You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences ri`he name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

Consent to a magistrate judge ’s consideration afa dispositive motion The following parties consent to have a
Um`ted States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below
(ia'enti)jt each motion by document number and title).

Motions:

 

 

 

Parties ’ printed names Signatures of parties or attorneys Dates

 

 

Reference Order

IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all proceedings and
enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(0).

Date:

 

District Jiidge ’.r signature

 

Printed name and title

Note: Return this form to the cierk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.

